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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                    CENTRAL DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                      ORDER AFFIRMING & ADOPTING
v.                                                    REPORT & RECOMMENDATIONS

MIGUEL CARRERA,
                                                            Case No. 2:05CR895DAK
                      Defendants.




       This is a multiple defendant criminal case in which Chief Magistrate Judge Alba has

issued three Reports and Recommendations on two motions to suppress and a James hearing.

This case was referred to the Chief Magistrate Judge Samuel Alba under 28 U.S.C. §

636(b)(1)(B). A Magistrate Judge’s Report and Recommendation is subject to de novo review by

this court. See 28 U.S.C. § 636(b)(1)(B); see also Fed. R. Civ. P. 72(b). The court has reviewed

the record de novo with respect to these motions to suppress and the James hearing.

       On March 14, 2007, Chief Magistrate Judge Alba issued a Report and Recommendation

on a motion to suppress brought by Defendants Javier Segura, Genaro Medina Luna, Mont

Housekeeper, Eric Angell, and Jeffrey Thiemig. The motion seeks to suppress all evidence of the

interception of telephonic communications of telephone numbers (801) 759-7129 and (801) 474-

9763. Chief Magistrate Judge Alba concluded that the affidavits supporting the applications for

the August 22, 2005 and October 25, 2005 wiretap orders showed necessity, and the investigators
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were reasonable in their efforts to minimize non-pertinent conversations. Accordingly, Chief

Magistrate Judge Alba recommended that the motion be denied.

       Defendant Javier Segura filed an objection to the Report and Recommendation, relying

on the arguments contained in his original brief on the motion to suppress. After conducting a de

novo review of the record with respect to this motion to suppress, the court finds no basis for

reversing or modifying the Report and Recommendation. Therefore, Chief Magistrate Judge

Alba’s March 14, 2007 Report and Recommendation is hereby affirmed and adopted in its

entirety as the Order of this court. Accordingly, the motion to suppress is denied.

       On July 13, 2007, Chief Magistrate Judge Alba issued a Report and Recommendation on

a James hearing regarding the admissibility of alleged co-conspirators’ statements. See United

States v. James, 590 F.2d 575 (5th Cir.), cert denied, 442 U.S. 917 (1979). Two defendants,

Francisco Valenicia and Christopher Duell, each filed memorandum regarding the James

hearing. The government also filed a memorandum. Chief Magistrate Judge Alba’s Report and

Recommendation finding that the government demonstrated by a preponderance of the evidence

that a conspiracy existed and that Defendants Eric Angell, Mark Robles, Francisco Valencia,

Christopher Duell, and Javier Segura were members of the conspiracy.

       On July 23, 2007, Defendant Mark Robles’ prior counsel filed an Objection to the Report

and Recommendation but did not state any specific objections and requested additional time to

file an accompanying memorandum. Robles was appointed new counsel on August 3, 2007. No

accompanying memorandum has been filed to support Robles’ objections, and the time for filing

the memorandum has passed. No other defendant filed an objection to the Report and


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Recommendation.

       The court has reviewed de novo Chief Magistrate Judge Alba’s Report and

Recommendation, and the relevant memoranda and evidence relating to the James hearing. The

court finds no basis for an objection by any of the Defendants. Therefore, the court adopts

Magistrate Judge Alba’s Report and Recommendation in its entirety as the Order of this court.

       On September 4, 2007, Chief Magistrate Judge Alba issued a Report and

Recommendation on a motion to suppress filed by Defendant Francisco Valencia, recommending

that the motion be denied. On September 12, 2007, Defendant Francisco Valencia filed an

Objection to Magistrate’s Report and Recommendation. On September 21, 2007, Chief

Magistrate Judge Alba issued an Amended Report and Recommendation. No objection has been

filed to the Amended Report and Recommendation.

       The court has reviewed de novo the Report and Recommendation, the Objection, and the

relevant memoranda and evidence relating to the motion to suppress. The court agrees with the

analysis in the Report and Recommendation. The court concludes that there was reasonable

suspicion to stop Valencia’s car to conduct and investigative stop, the officer did not exceed the

scope of the stop, Valencia’s consent was freely and voluntarily given, Valencia’s consent was

unequivocal and specific, Valencia was not in custody for purposes of Miranda, and the

government established that Valencia’s statements were voluntary. Accordingly, the court

affirms and adopts the September 21, 2007 Amended Report and Recommendation in its

entirety. Therefore, Defendant Valencia’s motion to suppress is denied.




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     DATED this 16th day of October, 2007.

                                        BY THE COURT:



                                        DALE A. KIMBALL
                                        United States District Judge




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